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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        CASE NO. 2:11-CR-429 JAM
12                              Plaintiff,            MOTION AND ORDER TO DISMISS
13                        v.
14   CHRISTOPHER WARREN MACQUEEN,
15                              Defendant.
16

17         Pursuant to the Deferred Prosecution Agreement in this case, the United States moves to dismiss

18 all counts against Defendant MacQueen. See Dkt. 424-1; Fed. R. Crim. P. 48(a). This motion is

19 unopposed.

20
     Dated: December 19, 2016                           PHILLIP A. TALBERT
21                                                      United States Attorney
22
                                                        /s/ MATTHEW D. SEGAL
23                                                      MATTHEW D. SEGAL
                                                        Assistant United States Attorney
24
     SO ORDERED.
25
     DATED: December 22, 2016
26
                                                       /s/ JOHN A. MENDEZ
27                                                     HON. JOHN A. MENDEZ
                                                       U.S. District Court Judge
28
